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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JAMES MURPHY, on behalf of himself and all
other persons similarly situated,

                                   Plaintiff,
                 -against-                                           19   CIVIL 9920 (ER)

                                                                      JUDGMENT
THE HOME DEPOT, INC.,

                                   Defendant.
-----------------------------------------------------------X

         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated November 5, 2020, Home Depot's motion to dismiss

is GRANTED. Murphy was to file a second amended complaint, if at all, by November 19, 2020.

No amended complaint was filed within that time frame. Final judgment of dismissal is entered;

accordingly, th is case is closed.

Dated: New York, New York

          January 13, 2021


                                                                     RUBY J. KRAJICK

                                                                          Clerk of Court
                                                               BY:
                                                                      ~
                                                                          Deputyci~
